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Gentry C. Wahimeier

P.O. Box 1811
Van Buren, AR 72957

Case 5:23-cv-05086-TLB Document 2-3 Filed 06/02/23

PH: (479) 431-3366
FAX: (479) 763-3987

WAHLMEIER LAW FIRM, P.A. Seana ateipte is Panialetieue cam

May 23, 2023

CCLS Board &
Director Eva White

Re: Resignation per Act 372 Changes
Dear Board Members and Director White:

In our last general meeting | provided each of you with a summary of Act 372. The act
adds A.C.A. § 13-2-106 to the laws of our State. That addition creates a requirement for
the System to create or amend the policy for selection, relocation, and retention of
physical materials. It has come to my attention that a conflict of interest may be created
upon the enactment of Act 372 on August 1, 2023.

My letter only covered those items that are pertinent to the Library System. Continuing
with the addition of A.C.A. § 13-2-106, beyond the challenge meeting, the law explains
that the challenger may appeal to the County Judge and Quorum Court if the System's
committee does not “find” for them. Pursuant to the rules of ethics that govern the practice
of law, | am unable to advise both. Thus, | must resign. | will stay on in an advisory
capacity until the end of June. As a Board, | advise that you hire new counsel.

Please remember that there are currently pending obligations to come into compliance

with the new laws by August 1, 2023. Specifically, you must create a section that is not
accessible to those under eighteen (18) and create a policy for challenging physical

materials.

Sincerely,

GX dSs—

Gentry C. Wahimeier

Licensed in Arkansas and Oklahoma

